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                                                                                                                                EXHIBIT 15
                                                       January 18, 2007                                  CONGRESSIONAL RECORD — SENATE                                                                 S751
                                                       wanted to go. Most of them are very civ-                Johns of Louisville, KY, for being rec-               and 2007. Lasseter Tractor Company,
                                                       ilized, particularly hospice care. A hospice            ognized as one of America’s top edu-                  Inc. has also garnered the top market
                                                       makes it very easy for you when you decide              cators in the 2006 Milken Family Foun-                share in the Atlanta branch of dealer-
                                                       to go.
                                                          What’s interesting is that everybody has             dation National Educator Awards.                      ships for 3 consecutive years.
                                                       his or her own opinion as to how you should               The annual Milken Family Founda-                      Through the years, Lasseter Tractor
                                                       go out. All my loved ones became very upset             tion National Educator Award was es-                  Company, Inc. has continued to expand
                                                       because they thought I should brave it out—             tablished in 1985, and recipients consist             and prosper. In the late 1990’s Lasseter
                                                       which meant more dialysis.                              of a network of teachers, principals,                 Tractor Company, Inc. began construc-
                                                          But here is the most important thing: This           and specialists who serve as experts for
                                                       has been my decision. And it’s a healthy one.                                                                 tion of a state-of-the-art dealership and
                                                          The person who was the most supportive at            policymakers seeking to improve the                   service facility that encompasses over
                                                       the end was my doctor, Mike Newman. Mem-                quality of teachers and public edu-                   45,000 square feet. The service center
                                                       bers of my family, while they didn’t want me            cation. Award recipients assist in de-                itself can accommodate over 20 cotton
                                                       to go, were supportive, too.                            veloping comprehensive strategies and                 pickers. This is not only an important
                                                          But I’m putting it down on paper, so there           policies to ensure that every child re-
                                                       should be no question the decision was mine.                                                                  feature but it is also a necessary fea-
                                                          I chose to spend my final days in a hospice          ceives the highest quality educational                ture because Lasseter Tractor Com-
                                                       because it sounded like the most painless               experience possible.                                  pany, Inc., is among the top dealer-
                                                       way to go, and you don’t have to take a lot               Ms. Marks-Johns, a teacher at                       ships for sales and servicing of cotton
                                                       of stuff with you.                                      Shacklette Elementary School, has                     pickers.
                                                          For some reason my mind keeps turning to             been recognized by the Milken Family
                                                       food. I know I have not eaten all the éclairs          Foundation for her continuing efforts                   Today’s Lasseter Tractor Company,
                                                       I always wanted. In recent months, I have               to provide educational experiences in                 Inc., spans south Georgia with dealer-
                                                       found it hard to go past the Cheesecake Fac-                                                                  ships in three counties. Not only has
                                                       tory without at least having a profiterole
                                                                                                               the classroom. She inspires her stu-
                                                                                                               dents to achieve academically and con-                the business increased in size but also
                                                       and a banana split.                                                                                           in the number of generations that are
                                                          I know it’s a rather silly thing at this             tribute to the community. Ms. Marks-
                                                       stage of the game to spend so much time on              Johns sets an example of leadership for               now involved in the business. Lasseter
                                                       food. But then again, as life went on and               both colleagues and students alike.                   Tractor Company, Inc., now includes
                                                       there were fewer and fewer things I could                 I now ask my fellow colleagues to                   Willard’s son Tony and grandson Judd,
                                                       eat, I am now punishing myself for having               join me in thanking Ms. Marks-Johns                   who oversee the day-to-day operations
                                                       passed up so many good things earlier in the                                                                  of the business. One philosophy that
                                                       trip.
                                                                                                               for her dedication and commitment to
                                                                                                               education. In order for our society to                Lasseter Tractor Company, Inc., has
                                                          I think of a song lyric, ‘‘What’s it all
                                                       about, Alfie?’’ I don’t know how well I’ve              continue to advance in the right direc-               maintained throughout its existence is:
                                                       done while I was here, but I’d like to think            tion, we must have teachers like                      ‘‘You must give your customers the
                                                       some of my printed works will persevere—at              LaMesa Marks-Johns in our schools, in                 best product at the fairest price pos-
                                                       least for three years.                                  our communities, and in our lives. She                sible.’’ This is a philosophy that has al-
                                                          I know it’s very egocentric to believe that                                                                lowed the company to continue to meet
                                                       someone is put on earth for a reason. In my
                                                                                                               is Kentucky at its finest.∑
                                                                                                                                 f                                   and exceed the needs of its customers.
                                                       case, I like to think I was. And after this col-
                                                       umn appears in the paper following my pass-                  RECOGNIZING MR. WILLARD                            It is hard to imagine what the state
                                                       ing, I would like to think it will either wind                         LASSETER                               of agriculture might be in southwest
                                                       up on a cereal box top or be repeated every                                                                   Georgia if that young high school stu-
                                                       Thanksgiving Day.                                       ∑ Mr. CHAMBLISS. Madam President,                     dent, Willard Lasseter, did not step
                                                          So, ‘‘What’s it all about, Alfie?’’ is my way        it is with great pride that today I                   into the John Deere dealership in
                                                       of saying goodbye.                                      honor my dear friend and fellow Geor-                 Moultrie, GA, in 1945 to begin working
                                                                        f                                      gian, Willard Lasseter, who recently                  part time.
                                                                  DEATHS IN IRAQ                               completed his 50th year with John
                                                                                                               Deere’s Lasseter Tractor Company,                       I am extremely proud of the mile-
                                                         Mr. KENNEDY. Madam President,                                                                               stone that Willard has just met and it
                                                       yesterday morning, January 17, a con-                   Inc. Willard and I not only share a
                                                                                                               strong desire for a successful agri-                  is my sincere hope that he continues
                                                       voy carrying a staff member of the Na-                                                                        his success in the agribusiness commu-
                                                       tional Democratic Institute and mem-                    culture sector throughout Georgia and
                                                                                                               the United States, but we also share                  nity for many years to come. I want to
                                                       bers of her security team was am-                                                                             thank my colleagues for giving me the
                                                       bushed in Baghdad.                                      the same hometown of Moultrie, GA.
                                                                                                                 Willard began his many years of serv-               opportunity to recognize my dear
                                                         Andrea Parhamovich, an American
                                                                                                               ice to the farmers of Colquitt County                 friend Willard Lasseter.∑
                                                       citizens, was killed. Three other NDI
                                                       employees, citizens from Croatia, Hun-                  in 1945 when he began to work part
                                                                                                               time for the local John Deere dealer-                                  f
                                                       gary, and Iraq, also lost their lives in
                                                       the attack.                                             ship. In 1956, with a little over $14,000
                                                         Since June 2003, the National Demo-                   in borrowed money, Willard purchased                       HONORING THOMAS WATSON
                                                       cratic Institute has been working with                  a 25 percent share of the John Deere                                BROWN
                                                       Iraqi citizens, outside the Green Zone                  dealership and on December 1, 1956,                   ∑ Mr. ISAKSON. Madam President,
                                                       and at great risk, to help build the                    Lasseter Tractor Company, Inc. had its                today I mourn the passing and pay
                                                       foundations on which a true democracy                   first day of business. By 1959, Willard,              tribute to a wonderful Georgian and a
                                                       depends.    I   did   not   know    Ms.                 along with help from his father, had se-              personal friend. Thomas Watson Brown
                                                       Parhamovich, whose life was taken so                    cured the remaining shares of the John                passed away on January 13, 2007, leav-
                                                       tragically yesterday. But all of us rec-                Deere dealership. The success of the                  ing a tremendous void in the hearts of
                                                       ognize the ideals which inspired her to                 business was almost instantaneous as                  all who knew and loved this extraor-
                                                       undertake such a dangerous mission                      Lasseter Tractor Company became the                   dinary gentleman.
                                                       for her country and the people of Iraq.                 No. 1 dealer in terms of sales volume
                                                         I offer my deepest respect and appre-                 for the Atlanta branch of John Deere                    Although he was a longtime resident
                                                       ciation to her last true measure of de-                 dealerships by 1960.                                  of Marietta, GA, Tom was actually
                                                       votion to democratic ideals. To her                       Since its first day of business                     born here in our Nation’s Capital where
                                                       family, and the families of those who                   Lasseter Tractor Company, Inc. has                    he attended Saint Alban’s School. He
                                                       were also killed, I offer my deepest                    been a model dealership for Deere and                 graduated magna cum laude from
                                                       condolences.                                            Company. Lasseter Tractor Company,                    Princeton with a degree in history and
      mmaher on DSKCGSP4G1 with SOCIALSECURITY




                                                                        f                                      Inc.’s many accomplishments include                   served a stint in the U.S. Army. He
                                                                                                               being named to the John Deere’s Man-                  graduated from Harvard Law School in
                                                             ADDITIONAL STATEMENTS                                                                                   1959 and moved to Atlanta where he
                                                                                                               ager Club for 12 consecutive years,
                                                                                                               being a John Deere Signature Dealer                   practiced law until his death.
                                                          TRIBUTE TO LAMESA MARKS-                             for top performance in the market                       Although Tom was not originally
                                                                       JOHNS                                   place for 5 consecutive years, and being              from Georgia, his family had deep
                                                       ∑ Mr. BUNNING. Madam President,                         a Gold Star dealer for top performance                Georgia roots. His great-grandfather
                                                       today I pay tribute to LaMesa Marks-                    in commercial products in 2005, 2006,                 was U.S. Senator Tom Watson, who



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